                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                              DOCKET NO.: 3:09MJ273-V

UNITED STATES OF AMERICA            )
                                    )
            v.                      )                          ORDER
                                    )
BRANDON LEE EVANS,                  )
            Defendant.              )
____________________________________)

       THIS MATTER is before the Court on the Government’s “Notice of Appeal, and Motion

for Stay and Revocation of Conditions of Release and Order for Detention,” filed December 4,

2009, and Defendant’s Opposition, filed December 7, 2009. (Documents #5, #9)

       On Friday, December 4, 2009, the defendant was brought before Magistrate Judge Cayer for

detention hearing.1 At the conclusion of the hearing, the Magistrate Judge ordered the defendant

released subject to certain conditions.

       In light of the Government’s appeal, and pursuant to 18 U.S.C. § 3143(a)(2), the Magistrate

Judge’s release order will be stayed to allow time for district court review.

       IT IS, THEREFORE, ORDERED that the Government’s motion to stay is hereby

GRANTED, and the defendant shall be DETAINED until further order of this Court.



                                                  Signed: December 8, 2009




       1
           The case was assigned to the undersigned judge on December 7, 2009.



    Case 5:09-cr-00049-KDB-DCK              Document 10        Filed 12/08/09    Page 1 of 1
